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UNITED STATES DISTRICT COURT 11 pm‘\"lf 1 .
WESTERN DISTRICT OF TENNESSEE n l

Western Division 115 MY_’> 1311 r:. {.;
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UNITED STATES OF AMERICA “L` I?'
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'1-’._13 012 TN, f 1
-vs- Case No. 2.01¢1~206111%(1§1:`1D

LEE CHAMPION

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUST]CE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsell Aecordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The Federal Public Defender is appointed as counsel for the Def`endant.
TYPE OF APPOINTMENT
- Probation/Supervised Release Violation &/

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DONE and 0R1)11;RED in 167 Nonh Main, Memphis, this 07 day OfMay, 2005.

/©o{d/H¢J/ /( gafde

DlANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Copies furnished tot

United States Attorney

United States Marshal

Pretrial Services Ofiiee

Assistant Federal Publie Defender
Intake

LEE CHAMPION

Thte document entered on the docket sheet fn compilance
with Flu|e 55 end!or 32{1:) FRCrP on

 

ISTRICT COURT - WE'T'RN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 121 in
case 2:01-CR-20017 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 .1 efferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

